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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

ASTELLAS PHARMA INC., ASTELLAS                   )
IRELAND CO., LTD. and ASTELLAS                   )
PHARMA GLOBAL DEVELOPMENT,                       )
INC.,                                            )     C.A. No. 1:20-cv-01589-JFB
                                                 )
                     Plaintiffs,                 )
                                                 )
                     v.                          )
                                                 )
SANDOZ INC., ACTAVIS ELIZABETH                   )
LLC, ACTAVIS LLC, TEVA                           )
PHARMACEUTICALS USA, INC.,                       )
APOTEX INC., APOTEX CORP.,                       )
AUROBINDO PHARMA LTD.,                           )
AUROBINDO PHARMA USA, INC.,                      )
AUROLIFE PHARMA LLC, SAWAI                       )
PHARMACEUTICAL CO., LTD., SAWAI                  )
USA, INC., PRINSTON                              )
PHARMACEUTICAL INC., ZHEJIANG                    )
HUAHAI PHARMACEUTICAL CO., LTD.,                 )
HUAHAI US INC., SOLCO HEALTHCARE                 )
US, LLC, WINDLAS HEALTHCARE, PVT.                )
LTD., WINDLAS BIOTECH LTD., ZYDUS                )
PHARMACEUTICALS (USA), INC.,                     )
CADILA HEALTHCARE LTD. (d/b/a                    )
ZYDUS CADILA), LUPIN LTD. and LUPIN              )
PHARMACEUTICALS, INC.                            )
                                                 )
                     Defendants.                 )



               STIPULATION AND ORDER DISMISSING DEFENDANT
                     ACTAVIS LLC, WITHOUT PREJUDICE

       This stipulation is made by and between Plaintiffs Astellas Pharma Inc., Astellas Ireland

Co., Ltd, and Astellas Pharma Global Development, Inc. and Defendants Actavis Elizabeth LLC,

Actavis LLC, and Teva Pharmaceuticals USA, Inc.

       WHEREAS, Plaintiffs filed suit against Actavis LLC, Actavis Elizabeth LLC, and Teva

Pharmaceuticals USA, Inc. in the above-captioned case (the “Action”);
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       WHEREAS, Actavis LLC represents that it has not been and is not involved in ANDA No.

209368 or the product that is the subject of ANDA No. 209368 or the DMF for mirabegron that is

referenced in ANDA No. 209368;

       WHEREAS Actavis LLC represents that it does not possess any information relevant to

ANDA No. 209368 or the product that is the subject of ANDA No. 209368 or the DMF for

mirabegron that is referenced in ANDA No. 209368 and any relevant information is in the

possession, custody, or control of Actavis Elizabeth LLC or Teva Pharmaceuticals USA, Inc.;

       WHEREAS Actavis LLC represents that is has no rights to ANDA No. 209368 or the

product that is the subject of ANDA No. 209368;

       NOW THEREFORE, Plaintiffs and Defendants, by and through their respective

undersigned counsel in the Action, and subject to the approval of the Court, stipulate and agree as

follows:


       1.      Actavis LLC is dismissed from the Action without prejudice.

       2.      Actavis Elizabeth LLC and Teva Pharmaceuticals USA, Inc. agree and represent

that any information relevant to ANDA No. 209368 and the product that is the subject of ANDA

No. 209368 is in the possession, custody, or control of Actavis Elizabeth LLC or Teva

Pharmaceuticals USA, Inc. for purposes of discovery in this case.

       3.      Notwithstanding Paragraph 2 above, Actavis Elizabeth LLC and Teva

Pharmaceuticals USA, Inc. agree and represent that in responding to requests for documents and/or

things served on Actavis Elizabeth LLC and Teva Pharmaceuticals USA, Inc., Actavis Elizabeth

LLC and Teva Pharmaceuticals USA, Inc. are able to and will produce responsive, non-privileged

documents and things that are in the possession, custody or control of Actavis LLC, to the extent

that such documents and things exist. Similarly, Actavis Elizabeth LLC and Teva Pharmaceuticals
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USA, Inc. agree and represent that in responding to interrogatories and requests for admission

served on them, Actavis Elizabeth LLC and Teva Pharmaceuticals USA, Inc. are able to and will

include responsive, non-privileged information in the possession, custody or control of Actavis

LLC, to the extent that such information exists. Actavis Elizabeth LLC and Teva Pharmaceuticals

USA, Inc. agree that they will not object to the search for and production of documents and things

on the basis that Actavis LLC is not a defendant in this action. In addition, Actavis Elizabeth LLC

and Teva Pharmaceuticals USA, Inc. are able to and will accept notices of deposition for witnesses

employed by, or otherwise under the control of Actavis LLC. Actavis Elizabeth LLC and Teva

Pharmaceuticals USA, Inc. will not object to such notices of deposition on the ground that the

noticed deponents are not Actavis Elizabeth LLC or Teva Pharmaceuticals USA, Inc. employees

or not under the control of Actavis Elizabeth LLC or Teva Pharmaceuticals USA, Inc. Actavis

Elizabeth LLC and Teva Pharmaceuticals USA, Inc. reserve all other objections to such notices of

deposition under the applicable Rules of Civil procedure or applicable Local Rules (Civil) of the

United States District Court for the District of Delaware.

       4.      Plaintiffs agree to use reasonable efforts to avoid undue burden on Actavis LLC in

requesting discovery from Actavis Elizabeth LLC and Teva Pharmaceuticals USA, Inc.

       5.      To the extent evidence or other information shows that Actavis LLC was involved

or becomes involved with ANDA No. 209368 or the product that is the subject of ANDA No.

209368 or the DMF for mirabegron that is referenced in ANDA No. 209368, Actavis Elizabeth

LLC, Teva Pharmaceuticals USA, Inc., and Actavis LLC agree not to oppose the rejoining of

Actavis LLC as a party based on grounds that the application is untimely if the motion is made

within a reasonable amount of time after discovery of the grounds for joinder.
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       6.      Other than the stipulated agreement set forth above, this stipulation does not

constitute a waiver of any objection or defense to, or any privilege immunity from, the provision

of discovery otherwise available to parties to an action under the Federal Rules of Civil Procedure,

the Federal Rules of Evidence, or any other applicable authority.

       7.      Actavis Elizabeth LLC and Teva Pharmaceuticals USA, Inc. agree that they will

not contest personal jurisdiction in this Court for purposes of the Action only and, as such, will not

move to dismiss the Action on grounds that the District Court for the District of Delaware lacks

jurisdiction over Actavis Elizabeth LLC or Teva Pharmaceuticals USA, Inc. for purposes of the

Action. Actavis Elizabeth LLC and Teva Pharmaceuticals USA, Inc. also agree that they will not

contest venue in the District of Delaware in the Action and, as such, will not move to change the

venue of the Action.

       8.      The terms of this stipulation are made without prejudice to the respective positions

of Plaintiffs and Defendants Actavis Elizabeth LLC and Teva Pharmaceuticals USA, Inc. as to

whether Actavis LLC is a proper defendant in the Action, and whether Actavis Elizabeth LLC and

Teva Pharmaceuticals USA, Inc. are subject to personal jurisdiction in this Court. The terms of

this stipulation also cannot be used by Plaintiffs or Defendants Actavis Elizabeth LLC and Teva

Pharmaceuticals USA, Inc. to argue for or against jurisdiction in the future. The case caption for

the Action should be amended to remove Actavis LLC as follows:



ASTELLAS PHARMA INC., ASTELLAS                      )
IRELAND CO., LTD. and ASTELLAS                      )
PHARMA GLOBAL DEVELOPMENT,                          )
INC.,                                               )     C.A. No. 1:20-cv-01589-JFB
                                                    )
                       Plaintiffs,                  )
                                                    )
                       v.                           )
                                                    )
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SANDOZ INC., ACTAVIS ELIZABETH              )
LLC, TEVA                                   )
PHARMACEUTICALS USA, INC.,                  )
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AUROBINDO PHARMA LTD.,                      )
AUROBINDO PHARMA USA, INC.,                 )
AUROLIFE PHARMA LLC, SAWAI                  )
PHARMACEUTICAL CO., LTD., SAWAI             )
USA, INC., PRINSTON                         )
PHARMACEUTICAL INC., ZHEJIANG               )
HUAHAI PHARMACEUTICAL CO., LTD.,            )
HUAHAI US INC., SOLCO HEALTHCARE            )
US, LLC, WINDLAS HEALTHCARE, PVT.           )
LTD., WINDLAS BIOTECH LTD., ZYDUS           )
PHARMACEUTICALS (USA), INC.,                )
CADILA HEALTHCARE LTD. (d/b/a               )
ZYDUS CADILA), LUPIN LTD. and LUPIN         )
PHARMACEUTICALS, INC.                       )
                                            )
                    Defendants.             )


 /s/ Alexandra M. Joyce                         /s/ Karen E. Keller
 Daniel M. Silver (No. 4758)                    John W. Shaw (No. 3362)
 Alexandra M. Joyce (No. 6423)                  Karen E. Keller (No. 4489)
 Renaissance Centre                             Andrew E. Russell (No. 5382)
 MCCARTER & ENGLISH, LLP                        David M. Fry (No. 5486)
 405 N. King Street 8th Floor                   SHAW KELLER LLP
 Wilmington, DE 19801                           I.M. Pei Building
 (302) 984-6331                                 1105 North Market Street, 12th Floor
 dsilver@mccarter.com                           Wilmington, DE 19801
 ajoyce@mccarter.com                            (302) 298-0700
 Attorney for Plaintiffs                        jshaw@shawkeller.com
                                                kkeller@shawkeller.com
                                                arussell@shawkeller.com
                                                dfry@shawkeller.com
                                                Attorneys for Defendants Teva
                                                Pharmaceuticals USA, Inc.,
 Dated: February 24, 2021                       Actavis Elizabeth LLC, and Actavis LLC


                    It is SO ORDERED this ____ day of _________________, 2021

                                                            ________________________
                                                            United States District Judge
